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11                               UNITED STATES DISTRICT COURT
12                            NORTHERN DISTRICT OF CALIFORNIA
13                                   SAN FRANCISCO DIVISION
14   IN RE: CATHODE RAY TUBE (CRT)                 Master File No. CV-07-5944-SC
     ANTITRUST LITIGATION
15                                                 MDL No. 1917

16                                                 DECLARATION OF JANET S. NETZ, PH.D.,
                                                   IN SUPPORT OF MOTION OF INDIRECT-
17   This Document Relates to:                     PURCHASER PLAINTIFFS FOR CLASS
                                                   CERTIFICATION
18   ALL INDIRECT PURCHASER ACTIONS
                                                   Date: TBD
19                                                 Time: TBD
                                                   Before: Hon. Charles A. Legge (Ret.)
20                                                         Special Master

21                                                 The Honorable Samuel Conti

22

23

24                            REDACTED PER COURT ORDER (D.E. 1512)
25

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                                                  1
         DECLARATION OF JANET S. NETZ, PH.D., IN SUPPORT OF MOTION OF INDIRECT-PURCHASER
          PLAINTIFFS FOR CLASS CERTIFICATION — MASTER FILE NO. CV-07-5944-SC, MDL NO. 1917
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